85 F.3d 639
    NOTICE: Ninth Circuit Rule 36-3 provides that dispositions other than opinions or orders designated for publication are not precedential and should not be cited except when relevant under the doctrines of law of the case, res judicata, or collateral estoppel.Eric W. ZESSMAN, Plaintiff-Appellant,v.Stewart L. BELL;  District Attorney, Defendants-Appellees.
    No. 95-17162.
    United States Court of Appeals, Ninth Circuit.
    Submitted April 30, 1996.*Decided May 6, 1996.
    
      Before:  BROWNING, REINHARDT and FERNANDEZ, Circuit Judges.
      MEMORANDUM**
      Nevada state prisoner Eric W. Zessman appeals pro se the district court's summary judgment dismissal of his 42 U.S.C. § 1983 action.   We vacate and remand pursuant to Lucas v. California Dep't of Corrections, 66 F.3d 245, 248 (9th Cir.1995) (district court must give pro se litigant notice prior to treating a motion to dismiss as one for summary judgment) and Arreola v. Mangaong, 65 F.3d 801, 802 (9th Cir.1995) (district court must advise pro se prisoner litigants that Fed.R.Civ.P. 56 requires submission of responsive evidence in opposition to a summary judgment motion).
      VACATED and REMANDED.
    
    
      
        *
         The panel unanimously finds this case suitable for decision without oral argument.   Fed.R.App.P. 34(a);  9th Cir.R. 34-4
      
      
        **
         This disposition is not appropriate for publication and may not be cited to or by the courts of this circuit except as provided by 9th Cir.R. 36-3
      
    
    